
726 S.E.2d 850 (2012)
SUGAR CREEK CHARTER SCHOOL, INC., et al
v.
STATE of NC, et al.
No. 347P11-1.
Supreme Court of North Carolina.
June 13, 2012.
Jason B. Kay, for Sugar Creek Charter School, Inc., et al.
Robert F. Orr, for Sugar Creek Charter School, Inc., et al.
Mark Davis, Special Deputy Attorney General, for State of North Carolina.
Robert J. King, III, Greensboro, for Cleveland County Board of Education, et al.
Julia C. Ambrose, Greensboro, for Cleveland County Board of Education, et al.
George W. Dennis, III, Raleigh, for County of Edgecombe, et al.
Laura E. Crumpler, Assistant Attorney General, for State of North Carolina.
The following order has been entered on the motion filed on the 30th of August 2011 by Defendants (Counties) to Dismiss Appeal:
"Motion Allowed by order of the Court in conference, this the 13th of June 2012."
